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 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA and                       No. 1:15-cv-00433-DAD-EPG
     STATE OF CALIFORNIA, ex rel
12   NICOLE O’NEILL,
13                      Plaintiffs,                     ORDER UNSEALING COMPLAINT AND
                                                        NOTICES DECLINING INTERVENTION
14          v.
15   SOMINA, INC., PRIMARY
     ANESTHESIA SERVICES, McKESSON
16   CORPORATION, ROBERT
     GOLDSTEIN, ROY WINSTON, BYRON
17   MENDENHALL, QUINN GEE, and
     MARGARET VASSILEV,
18
                        Defendants.
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20          On November 21, 2016, the United States of America filed a notice of election to decline

21   intervention pursuant to 31 U.S.C. § 3730(b)(4)(B). On November 30, 2016, the State of

22   California also filed notice that it was declining to intervene in this action, pursuant to California

23   Government Code § 12652(c)(6)(B).

24          Accordingly,

25      1. The complaint shall be unsealed and served upon the defendants by the relator;

26      2. Following service of the complaint, the relator will serve a copy of this order and the

27          Notices of Election to Decline Intervention filed by the United States of America and the

28          State of California on the defendants;
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 1     3. All other contents of the court’s file entered prior to the date of this order shall remain

 2        sealed and shall not be made public or served upon the defendants;

 3     4. No documents entered on the court’s docket subsequent to the date of this order shall be

 4        sealed, absent a request and subsequent written order of court pursuant to Local Rule 141;

 5     5. The parties to this action shall serve copies of all pleadings and motions filed in this action

 6        on the United States and the State of California;

 7     6. The Clerk of Court is directed to serve copies of any orders of court issued in this matter

 8        on the United States and the State of California;

 9     7. The parties to this action shall serve all notices of appeal on the United States and the

10        State of California;

11     8. Should either the relator or the defendants seek to dismiss, settle, or otherwise discontinue

12        this action, both the United States and the State of California will be given notice and an

13        opportunity to be heard, pursuant to 31 U.S.C. § 3730(b)(1) and California Government

14        Code § 12652(c)(1).

15   IT IS SO ORDERED.
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       Dated:    December 16, 2016
17                                                       UNITED STATES DISTRICT JUDGE

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